 1   CYNTHIA L. JOHNSON, (Bar No. 014492)
     Law Office of Cynthia L. Johnson
 2   11640 East Caron Street
     Scottsdale, AZ 85259
 3   Phone: (480) 381-7929
 4
     Email: cynthia@jsk-law.com
 5
     Attorney for Secured Creditor
 6
                          IN THE UNITED STATES BANKRUPTCY COURT
 7
 8                                FOR THE DISTRICT OF ARIZONA
 9   In Re:                                            Chapter 7
10
     DESERT VALLEY STEAM CARPET                        Case No. 4:17-bk-13309-SHG
11   CLEANING LLC,
12                                                     NOTICE OF MOTION FOR RELIEF
                                 Debtor.               FROM AUTOMATIC STAY
13
14
15            NOTICE IS HEREBY GIVEN that on the 13th day of November, 2017 that Atlas
16   Residential, LLC, an Arizona Limited Liability Company (“Atlas”), by and through
17
     undersigned counsel, filed its Motion for Relief From The Automatic Stay, the details of
18
19   which are as follows:

20            Movant asserts that it has cause to lift the Automatic Stay in that Respondent
21
     has been collecting rents and failed to make the mortgage payments, pay property
22
     taxes or provide proof of property insurance; that Respondent has no equity in the
23
24   real property and there is no reasonable likelihood of reorganizing this Chapter 7 debt

25   which are the subject of the Motion for Relief from Stay. Therefore, Movant is entitled
26
     to an Order Lifting Stay with respect to such property.
27
28

Case 4:17-bk-13309-SHG                           1
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           FURTHER NOTICE IS HEREBY GIVEN that pursuant to Local Bankruptcy Rule
 1
 2   4001 if no objection is filed with the court and a copy served on Movant whose
 3   address is:
 4
                   Atlas Residential, LLC
 5                 c/o Cynthia L. Johnson, Esq.
 6                 Law Office of Cynthia L. Johnson
                   11640 E. Caron Street
 7                 Scottsdale, AZ 85259
                   cynthia@jsk-law.com
 8
 9   WITHIN 14 DAYS of service of the motion, the motion for relief from the automatic
10
     stay may be granted without further hearing.
11
           RESPECTFULLY SUBMITTED this 13th day of November, 2017.
12
13                                     CYNTHIA L. JOHNSON

14
                                       By:/s/Cynthia L. Johnson
15
                                       Cynthia L. Johnson
16                                     Attorney for Movant
17   COPY of the foregoing mailed or served
18   via (email or fax* or electronic notification** if so marked)
     this 13th day of November, 2017 to:
19
20   **Office of the U.S. Trustee
     230 N. 1st Avenue
21   Suite 204
     Phoenix, AZ 85003
22
23   **Mr. Stanley J. Kartchner
     United States Trustee
24   7090 N. Oracle Rd.
25   Suite 178-204
     Tucson, AZ 85704
26   Trustee
27
28

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     Desert Valley Steam Carpet Cleaning LLC
 1
     108 E. 8th Street
 2   Eloy, AZ 85131
     Debtor
 3
 4   By: /s/Cynthia Johnson

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